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                                                                             April 26, 2023
 VIA ECF

 Hon. Ramon E. Reyes, Jr.
 United States Courthouse
 225 Cadman Plaza East
 Brooklyn, New York 11201


 Re:     City of New York v. Old Dominion Tobacco Company, Inc (Case No. 2:20-cv-05965)


 Dear Judge Reyes:

         This firm represents defendant Atlantic Dominion in the above captioned matter. We write
 to follow up on our letters dated April 11 and 12, 2023.

          Counsel for the City previously indicated that it intends to respond to Atlantic Dominion’s
 letters and produce additional documents by today. The City has further indicated that it intends
 to issue revised privilege and redaction logs addressing concerns raised by Atlantic Dominion in
 its prior correspondence. While it is impossible to fully predict the amount of time necessary to
 review, meet and confer prior to filing the joint status report until Atlantic Dominion receives the
 production, logs and response, the Parties anticipate the process will take at least one month.
 The Parties therefore request that the deadline to file a status report, currently set for April 28,
 2023, be extended to May 31, 2023.

         We appreciate the Court’s ongoing consideration.

                                                              Sincerely,


                                                              Avi Schick

 cc:     counsel of record
